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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

UNITED STATES of AMERICA

               Plaintiff,

       v.

Jordan Scott Christiansen                                           Case No. 4:13-mj-180

Michael Thomas Sackett,                                             Case No. 4:13-mj-181

               Defendants.

                                 Clerk’s Minutes of Proceedings

The Honorable Charles S. Miller, Jr.                         Date: October 15, 2013

Bismarck, North Dakota                                       Time: 4:10 PM

Digital Recording: 131015-Sack-Chris.mp3                     Clerk: Rob Ansley
                                                             USPO: Dawn Arenz

Proceeding: Initial Appearance on Complaint

Appearances:
      Gary Delorme for Government

Court notes appearances.
Defendants advised of rights.
Court makes inquiries of Mr. Christiansen’s financial status. Court finds defendant eligible for
court appointed counsel.
Court reviews complaint and maximum charges.
USA is requesting detention.
Mr. Sackett will retain an attorney.
Court orders detention and will schedule bond hearing.
Recess: 4:20 PM
